Case 2:05-cr-20069-.]PI\/| Document 24 Filed 06/01/05 Page 1 of 2 Page|D 27

IN THE UNITED STATES DISTRICT CoURT F“ ED B\, WQ~M D.::.
FoR THE WESTERN DISTRICT oF TENNESSEE '
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United States of America

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- VS - NO. 2:05cr20069

Curtis Springer,
Defendant.

 

ORDER OF TRANSFER OF CASE

 

Upon motion of the Defendant, and for good cause being Shown, it is hereby
ORDERED, ADJUDGED and DECREED that the above matter is transferred to be heard

by Judge Samuel H. Mays, Jr. United States District Judge,.

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s°o _)w-
Entered on this the l day of-May; 2005.

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Jud J. Danie] Breen,
` ed States District Judge

 

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with mile 55 and/or 32(5) FRCrP On §§ ~: Q’O` ,

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20069 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

ENNESSEE

 

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Murray B. Wells

HORNE GILLULY & WELLS, PLLC
81 Monroe Ave.

Ste. 400

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

